       Case 2:13-cr-00010-TLN Document 17 Filed 02/19/13 Page 1 of 3


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4
     Attorney for Defendant
5
     JAMIE GENETTE HENRY
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8
                           IN THE UNITED STATES DISTRICT COURT

9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11
     UNITED STATES OF AMERICA,                   ) Case No. 2:13-cr-00010-MCE
                                                 )
12
                             Plaintiff,          )
                                                 )
13
           v.                                    ) STIPULATION AND ORDER TO
                                                 ) CONTINUE STATUS
14
                                                 )
                                                 )
15
     JAMIE GENETTE HENRY,                        )
                                                 )
16
                             Defendant.          )
                                                 )
17

18          IT IS HEREBY stipulated between the United States of America through its
19   undersigned counsel, Matthew Morris, Assistant United States Attorney and Jennifer C.
20   Noble, attorney for defendant Jamie Genette Henry, that the status conference presently
21   set for February 21, 2013, be continued to March 14, 2013, at 9:00 a.m., thus vacating
22   the presently set status conference.
23          Defense counsel is not available on February 21, 2013 and also need additional
24   time to review discovery. Therefore, counsel for the parties stipulate and agree that the
25   interests of justice served by granting this continuance outweigh the best interests of the
26   defendants and the public in a speedy trial. 18 U.S.C. 3161(h)(7)(A) (continuity of
27   counsel/ reasonable time for effective preparation) and Local Code T4, and agree to
28   exclude time from the date of the filing of the order until the date of the status




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       Case 2:13-cr-00010-TLN Document 17 Filed 02/19/13 Page 2 of 3


1    conference, March 14, 2013.
2    IT IS SO STIPULATED.
3
     Dated: February 14, 2012                          By: /s/ Jennifer C. Noble
4
                                                       JENNIFER C. NOBLE
5                                                      WISEMAN LAW GROUP
                                                       Attorney for Defendant
6                                                      JAMIE GENETTE HENRY
7
     Dated: February 14, 2012                          Benjamin B. Wagner
8                                                      United States Attorney

9                                                      By: /s/ Matthew Morris
                                                       MATTHEW MORRIS
10
                                                       Assistant U.S. Attorney
11

12

13                                             ORDER

14          The Court, having received, read, and considered the stipulation of the parties,
15   and good cause appearing therefrom, adopts the stipulation of the parties in its entirety
16   as its order. Based on the stipulation of the parties and the recitation of facts contained
17   therein, the Court finds that it is unreasonable to expect adequate preparation for
18   pretrial proceedings and trial itself within the time limits established in 18 U.S.C. § 3161.
19   In addition, the Court specifically finds that the failure to grant a continuance in this
20   case would deny defense counsel to this stipulation reasonable time necessary for
21   effective preparation, taking into account the exercise of due diligence. The Court finds
22   that the ends of justice to be served by granting the requested continuance outweigh the
23   best interests of the public and the defendants in a speedy trial.
24          The Court orders that the time from the date of the parties' stipulation, February
25   14, 2013, to and including March 14, 2013, shall be excluded from computation of time
26   within which the trial of this case must be commenced under the Speedy Trial Act,
27   pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(ii) and (iv), and Local Codes T4

28   (reasonable time for defense counsel to prepare).




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       Case 2:13-cr-00010-TLN Document 17 Filed 02/19/13 Page 3 of 3


1    It is further ordered that the February 21, 2013, status conference shall be continued
2    until March 14, 2013, at 9:00 a.m.
3

4    IT IS SO ORDERED.
5

6    Dated: February 19, 2013
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                                           __________________________________________
8
                                           MORRISON C. ENGLAND, JR., CHIEF JUDGE
9                                          UNITED STATES DISTRICT JUDGE

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